Case 2:02-cr-20323-.]DB Document 71 Filed 07/26/05 Page 1 of 2 Page|D 101

IN THE UNITED STATES DISTRICT coURT ""ij““’"*`;": M' “
FOR THE wEsTERN DISTRICT oF TENNESSEE
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CR. NO. 2:03-20323-B

UNITED STATES OF AMERICA
Plaintiff,

    
  

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VS.

TARIO GRAHAM
Defendant.

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ORDER HOLDING PROBATIONER FOR REVOCATION HEARING

 

On July 26, 2005, Tario Graham appeared before on a charge
of violation of the terms and conditions of probation/supervised
release in this matter. The defendant was advised of his/her
rights under FRCrP 5 and 32.l(a){l).

At this hearing, the defendant was released on bond. A
preliminary hearing on the violation was not held.

Accordingly, defendant Tario Graham is held to a final
revocation hearing, to be set on notice from the United States
District Court and. in accordance with the provisions of Rule
32.l(a)(2), Federal Rules of Criminal Procedure.

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- O?éz`*
IT IS SO ORDERED this day Of , 2005.

ALW A/. j/M/W

UNITED STATES MAGISTRATE JUDGE

compliance

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:02-CR-20323 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

